Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 1 of 14



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

  KAWA ORTHODONTICS LLP, a Florida                  )
  limited liability partnership, individually and   )
  as the representative of a class of similarly-    )
  situated persons,                                 )
                                                    )
                         Plaintiff,                 )   Civil Action No:
                                                    )
                 v.                                 )   CLASS ACTION
                                                    )
  LABORATORY CORPORATION OF                         )
  AMERICA HOLDINGS and                              )
  LABORATORY CORPORATION OF                         )
  AMERICA, Delaware corporations,                   )
                                                    )
                         Defendants.                )

                                  CLASS ACTION COMPLAINT

         Plaintiff, KAWA ORTHODONTICS LLP (“Plaintiff”), brings this action on behalf of

  itself and all others similarly situated, through its attorneys, and except as to those allegations

  pertaining to Plaintiff or its attorneys, which allegations are based upon personal knowledge,

  alleges the following upon information and belief against Defendants, LABORATORY

  CORPORATION OF AMERICA HOLDINGS and LABORATORY CORPORATION OF

  AMERICA (“Defendants”):

                                      PRELIMINARY STATEMENT

         1.      This case challenges Defendants’ practice of sending unsolicited facsimiles.

         2.      The federal Telephone Consumer Protection Act of 1991, as amended by the Junk

  Fax Prevention Act of 2005 (“JFPA”), 47 USC § 227 (hereafter “TCPA” or the “Act”), and the

  regulations promulgated under the Act, prohibit a person or entity from faxing or having an agent

  fax advertisements without the recipient’s prior express invitation or permission. The TCPA

  provides a private right of action and provides statutory damages of $500 per violation. On or
Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 2 of 14



  about February 6, 2019, Defendants sent Plaintiff an unsolicited fax advertisement in violation of

  the TCPA (“the Fax”), a true and correct copy of which is attached hereto as Exhibit A, and

  made a part hereof. Upon information and belief, Defendant has sent the Fax and other facsimile

  transmissions of unsolicited advertisements to Plaintiff and the Class in violation of the TCPA.

  The Fax describes the commercial availability or quality of Defendants’ property, goods or

  services, namely, Defendants’ laboratory services, which the Fax states that “Effective march 1,

  2019, LabCorp is the exclusive laboratory provider for WellCare Health Plans, Inc. in Florida,”

  and that “Using an in-network laboratory helps patients maximize their lab benefits and

  minimize their out-of-pocket expenses. (See Exhibit A). The Fax goes on to describe the

  availability and quality of Defendants’ laboratory services. (Id.) Plaintiff alleges on information

  and belief that Defendants have sent, and continue to send, unsolicited advertisements via

  facsimile transmission in violation of the TCPA, including but not limited to the advertisement

  sent to Plaintiff.

          3.      Unsolicited faxes damage their recipients. A junk fax recipient loses the use of its

  fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable time that

  would have been spent on something else. A junk fax intrudes into the recipient’s seclusion and

  violates the recipient’s right to privacy. Unsolicited faxes occupy fax lines, prevent fax machines

  from receiving authorized faxes, prevent their use for authorized outgoing faxes, cause undue

  wear and tear on the recipients’ fax machines, and require additional labor to attempt to discern

  the source and purpose of the unsolicited message.

          4.       On behalf of itself and all others similarly situated, Plaintiff brings this case as a

  class action asserting claims against Defendants under the TCPA. Plaintiff seeks to certify a class

  which were sent the Fax and other unsolicited fax advertisements that were sent without prior

  express invitation or permission and without compliant opt-out language (to the extent the

                                                     2
Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 3 of 14



  affirmative defense of established business relationship is alleged). Plaintiff seeks statutory

  damages for each violation of the TCPA and injunctive relief.

           5.    Plaintiff is informed and believes, and upon such information and belief avers,

  that this action is based upon a common nucleus of operative facts because the facsimile

  transmissions at issue were and are being done in the same or similar manner. This action is

  based on the same legal theory, namely liability under the TCPA. This action seeks relief

  expressly authorized by the TCPA: (i) injunctive relief enjoining Defendants, their employees,

  agents, representatives, contractors, affiliates, and all persons and entities acting in concert with

  them, from sending unsolicited advertisements in violation of the TCPA; and (ii) an award of

  statutory damages in the minimum amount of $500 for each violation of the TCPA, and to have

  such damages trebled, as provided by § 227(b)(3) of the Act in the event willfulness in violating

  the TCPA is shown..

                                   JURISDICTION AND VENUE

           6.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C.

  § 227.

           7.    This court has personal jurisdiction over Defendants because Defendants transact

  business within this judicial district, have made contacts within this judicial district, and/or have

  committed tortious acts within this judicial district.

                                               PARTIES

           8.    Plaintiff, KAWA ORTHODONTICS LLP, is a Florida limited liability

  partnership.

           9.    On information and belief, Defendants, LABORATORY CORPORATION OF

  AMERICA HOLDINGS and LABORATORY CORPORATION OF AMERICA, are Delaware

  corporations with their principal place of business in Burlington, North Carolina.

                                                    3
Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 4 of 14



                                               FACTS

         10.       On or about February 6, 2019, Defendants sent an unsolicited facsimile to

  Plaintiff using a telephone facsimile machine, computer, or other device. See Exhibit A

         11.       The Fax announces that “Effective March 1, 2019, LabCorp is the exclusive

  laboratory provider for WellCare Health Plans, Inc. in Florida.” Exhibit A. The Fax states that

  “Using an in-network laboratory helps patients maximize their lab benefits and minimize their

  out-of-pocket expenses. (Id.). The Fax states that “LabCorp offers the following services,”

  including an “Enhanced Test Menu and a Commitment to Scientific Innovation,” “Practice

  Connectivity Expertise,” (“Flexible Specimen Pick-up,” “Better Patient Access,” “Reliable

  STAT/Same Day Testing,” and “Advanced Anatomic Pathology.” (Id.) The Fax states “For

  additional information about LabCorp, including a continually updated list of current and new

  Patient Service Centers and hours of operation, please visit www.LabCorp.com.” (Id.) The

  second page of the Fax provides:

         At LabCorp, our commitment to scientific leadership provides clients with access
         to industry-leading expertise and the latest developments in medical diagnostics.
         At the core of LabCorp’s approach are its specialized laboratories. Each
         laboratory has a distinctive, long-standing reputation for innovation and quality.

  Exhibit A at 2. The Fax then lists the various LabCorp laboratories, touting the availability and

  quality of the services each laboratory provides. Id.

         12.       The Fax advertises the commercial availability and quality of Defendants’

  laboratory services.

         13.       Defendants created or made Exhibit A, or directed a third party to do so, and

  Exhibit A was sent by or on behalf of Defendants with Defendants’ full knowledge and

  authorization.




                                                   4
Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 5 of 14



          14.      On information and belief, Defendants receive some or all of the revenues from

  the sale of the services advertised on Exhibit A, and Defendants profit and benefit from the sale

  of said services advertised on Exhibit A.

             15.   Plaintiff did not give Defendants “prior express invitation or permission” to send

  the fax.

          16.      On information and belief, Defendants faxed the same and other unsolicited

  facsimiles advertisements without the required opt-out language to Plaintiff and at least 40 other

  recipients or sent the same and other advertisements by fax with the required opt-out language

  but without first receiving the recipients’ express invitation or permission and without having an

  established business relationship as defined by the TCPA and its regulations.

          17.      There is no reasonable means for Plaintiff (or any other class member) to avoid

  receiving unauthorized fax advertisements. Fax machines are left on and ready to receive the

  urgent communications their owners desire to receive.

             18.   Defendants’ facsimile attached as Exhibit A does not display a proper opt-out

  notice as required by 47 C.F.R. § 227(b)(1)(C) and 47 C.F.R. § 64.1200(a)(4).

                                  CLASS ACTION ALLEGATIONS

          19.      In accordance with Fed. R. Civ. P. 23(b)(3), Plaintiff brings this class action

  pursuant to the TCPA, on behalf of the following class of persons:

                   All persons who (1) on or after four years prior to the filing of this
                   action, (2) were sent telephone facsimile messages the same or
                   similar to the Fax.

  Excluded from the Class are Defendants, their employees, agents and members of the Judiciary.

  Plaintiff seeks to certify a class which include, but are not limited to, the fax advertisements sent

  to Plaintiff. Plaintiff reserves the right to amend the class definition upon completion of class

  certification discovery.

                                                     5
Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 6 of 14



         20.       Class Size (Fed. R. Civ. P. 23(a)(1)): Plaintiff is informed and believes, and upon

  such information and belief avers, that the number of persons and entities of the Plaintiff Class is

  numerous and joinder of all members is impracticable. Plaintiff is informed and believes, and

  upon such information and belief avers, that the number of class members is at least forty.

         21.       Commonality (Fed. R. Civ. P. 23(a)(2)): Common questions of law and fact

  apply to the claims of all class members. Common material questions of fact and law include, but

  are not limited to, the following:

                   (a)    Whether the Fax and other faxes sent during the class period constitute

         advertisements under the TCPA and its implementing regulations;

                   (b)    Whether Defendants meet the definition of “sender” for direct TCPA

         liability, meaning a “person or entity on whose behalf a facsimile unsolicited

         advertisement is sent or whose goods or services are advertised or promoted in the

         unsolicited advertisement,” 47 C.F.R. § 64.1200(f)(10);

                   (c)    Whether Defendants had prior express invitation or permission to send

         Plaintiff and the class fax advertisements;

                   (d)    Whether the Fax(es) contain an “opt-out notice” that complies with the

         requirements of § (b)(1)(C)(iii) of the Act, and the regulations promulgated thereunder,

         and the effect of the failure to comply with such requirements;

                   (e)    Whether Defendants should be enjoined from faxing advertisements in the

         future;

                   (f)    Whether Plaintiff and the other members of the class are entitled to

         statutory damages; and

                   (g)    Whether the Court should award treble damages.

         .

                                                    6
Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 7 of 14



         22.     Typicality (Fed. R. Civ. P. 23 (a) (3)): Plaintiff's claims are typical of the claims

  of all class members. Plaintiff received the same or similar faxes as the faxes sent by or on behalf

  of Defendants advertising the commercial availability or quality of Defendants’ property, goods,

  or services during the Class Period. Plaintiff is making the same claims and seeking the same

  relief for itself and all class members based upon the same federal statute. Defendants have

  acted in the same or in a similar manner with respect to Plaintiff and all the class members by

  sending Plaintiff and each member of the class the same or similar faxes or faxes which did not

  contain the proper opt-out language or were sent without prior express invitation or permission.

         23.     Fair and Adequate Representation (Fed. R. Civ. P. 23 (a) (4)): Plaintiff will fairly

  and adequately represent and protect the interests of the class. It is interested in this matter, has

  no conflicts, and has retained experienced class counsel to represent the class.

         24.     Predominance and Superiority (Fed. R. Civ. P. 23 (b) (3)): Common questions of

  law and fact predominate over any questions affecting only individual members, and a class

  action is superior to other methods for the fair and efficient adjudication of the controversy

  because:

                 (a)     Proof of the claims of Plaintiff will also prove the claims of the class

         without the need for separate or individualized proceedings;

                 (b)     Evidence regarding defenses or any exceptions to liability that Defendants

         may assert and attempt to prove will come from Defendants’ records and will not require

         individualized or separate inquiries or proceedings;

                 (c)     Defendants have acted and are continuing to act pursuant to common

         policies or practices in the same or similar manner with respect to all class members;

                 (d)     The amount likely to be recovered by individual class members does not

         support individual litigation. A class action will permit a large number of relatively small

                                                     7
Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 8 of 14



         claims involving virtually identical facts and legal issues to be resolved efficiently in one

         proceeding based upon common proofs; and

                 (e)     This case is inherently manageable as a class action in that:

                         (i)     Defendants identified persons to receive the fax transmissions and

                 it is believed that Defendants’ and/or Defendants’ agents’ computers and business

                 records will enable Plaintiff to readily identify class members and establish

                 liability and damages;

                         (ii)    Liability and damages can be established for Plaintiff and the class

                 with the same common proofs;

                         (iii)   Statutory damages are provided for in the statute and are the same

                 for all class members and can be calculated in the same or a similar manner;

                         (iv)    A class action will result in an orderly and expeditious

                 administration of claims and it will foster economics of time, effort and expense;

                         (v)     A class action will contribute to uniformity of decisions

                 concerning Defendants’ practices; and

                         (vi)    As a practical matter, the claims of the class are likely to go

                 unaddressed absent class certification.

                Claim for Relief for Violation of the TCPA, 47 U.S.C. § 227 et seq.

         25.     The TCPA makes it unlawful for any person to “use any telephone facsimile

  machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

  advertisement . . . .” 47 U.S.C. § 227(b)(1)(C).

         26.     The TCPA defines “unsolicited advertisement” as “any material advertising the

  commercial availability or quality of any property, goods, or services which is transmitted to any




                                                     8
Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 9 of 14



  person without that person's prior express invitation or permission, in writing or otherwise.”

  47 U.S.C. § 227 (a) (5).

         27.     Opt-Out Notice Requirements. The TCPA strengthened the prohibitions against

  the sending of unsolicited advertisements by requiring, in § (b)(1)(C)(iii) of the Act, that senders

  of faxed advertisements place a clear and conspicuous notice on the first page of the transmission

  that contains the following among other things (hereinafter collectively the “Opt-Out Notice

  Requirements”):

                 (1)     A statement that the recipient is legally entitled to opt-out of receiving

         future faxed advertisements – knowing that he or she has the legal right to request an opt-

         out gives impetus for recipients to make such a request, if desired;

                 (2)     A statement that the sender must honor a recipient’s opt-out request within

         30 days and the sender’s failure to do so is unlawful – thereby encouraging recipients to

         opt-out, if they did not want future faxes, by advising them that their opt-out requests will

         have legal “teeth”;

                 (3)     A statement advising the recipient that he or she may opt-out with respect

         to all of his or her facsimile telephone numbers and not just the ones that receive a faxed

         advertisement from the sender – thereby instructing a recipient on how to make a valid

         opt-out request for all of his or her fax machines;

                 (4)     The opt-out language must be conspicuous.

         The requirement of (1) above is incorporated from § (b)(D)(ii) of the Act. The

  requirement of (2) above is incorporated from § (b)(D)(ii) of the Act and the rules and

  regulations of the Federal Communications Commission (the “FCC”) in ¶ 31 of its 2006 Report

  and Order, 21 F.C.C.R. 3787, 2006 WL 901720, which rules and regulations took effect on

  August 1, 2006). The requirements of (3) above are contained in § (b)(2)(E) of the Act and

                                                   9
Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 10 of 14



   incorporated into the Opt-Out Notice Requirements via § (b)(2)(D)(ii). Compliance with the Opt-

   Out Notice Requirements is neither difficult nor costly. The Opt-Out Notice Requirements are

   important consumer protections bestowed by Congress upon the owners of the telephone lines

   and fax machines giving them the right, and means, to stop unwanted faxed advertisements.

          28.    2006 FCC Report and Order. The TCPA, in § (b)(2) of the Act, directed the

   FCC to implement regulations regarding the TCPA, including the TCPA’s Opt-Out Notice

   Requirements and the FCC did so in its 2006 Report and Order, which in addition provides

   among other things:

                 A.      The definition of, and the requirements for, an established business

          relationship for purposes of the first of the three prongs of an exemption to liability under

          § (b)(1)(C)(i) of the Act and provides that the lack of an “established business

          relationship” precludes the ability to invoke the exemption contained in § (b)(1)(C) of the

          Act (See 2006 Report and Order ¶¶ 8-12 and 17-20);

                 B.      The required means by which a recipient’s facsimile telephone number

          must be obtained for purposes of the second of the three prongs of the exemption under §

          (b)(1)(C)(ii) of the Act and provides that the failure to comply with these requirements

          precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See

          2006 Report and Order ¶¶ 13-16);

                 C.      The things that must be done in order to comply with the Opt-Out Notice

          Requirements for the purposes of the third of the three prongs of the exemption under §

          (b)(1)(C)(iii) of the Act and provides that the failure to comply with these requirements

          precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See

          2006 Report and Order ¶¶ 24-34);




                                                   10
Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 11 of 14



                  D.      The failure of a sender to comply with the Opt-Out Notice Requirements

          precludes the sender from claiming that a recipient gave “prior express invitation or

          permission” to receive the sender’s fax (See Report and Order ¶ 48).

          As a result thereof, a sender of a faxed advertisement who fails to comply with the Opt-

   Out Notice Requirements has, by definition, transmitted an unsolicited advertisement under the

   TCPA. This is because such a sender can neither claim that the recipients of the faxed

   advertisement gave “prior express invitation or permission” to receive the fax nor can the sender

   claim the exemption from liability contained in § (b)(C)(1) of the Act.

          29.     The Fax. Defendants sent the Fax on or about February 6, 2019, via facsimile

   transmission from telephone facsimile machines, computers, or other devices to the telephone

   lines and facsimile machines of Plaintiff and members of the Plaintiff Class. The Fax constituted

   an advertisement under the Act and the regulations implementing the Act. Defendants failed to

   comply with the Opt-Out Requirements in connection with the Fax. The Fax was transmitted to

   persons or entities without their prior express invitation or permission and/or Defendants are

   precluded from asserting any prior express invitation or permission or that Defendants had an

   established business relationship with Plaintiff and other members of the class, because of the

   failure to comply with the Opt-Out Notice Requirements. By virtue thereof, Defendants violated

   the TCPA and the regulations promulgated thereunder by sending the Fax via facsimile

   transmission to Plaintiff and members of the Class. Plaintiff seeks to certify a class which

   includes this Fax and all others sent during the four years prior to the filing of this case through

   the present.

          30.     Defendants’ Other Violations. Plaintiff is informed and believes, and upon such

   information and belief avers, that during the period preceding four years of the filing of this

   Complaint and repeatedly thereafter, Defendants have sent via facsimile transmission from

                                                   11
Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 12 of 14



   telephone facsimile machines, computers, or other devices to telephone facsimile machines of

   members of the Plaintiff Class other faxes that constitute advertisements under the TCPA and its

   implementing regulations that were transmitted to persons or entities without their prior express

   invitation or permission (and/or that Defendants are precluded from asserting any prior express

   invitation or permission or that Defendants had an established business relationship because of

   the failure to comply with the Opt-Out Notice Requirements in connection with such

   transmissions). By virtue thereof, Defendants violated the TCPA and the regulations

   promulgated thereunder. Plaintiff is informed and believes, and upon such information and belief

   avers, that Defendants may be continuing to send unsolicited advertisements via facsimile

   transmission in violation of the TCPA and the regulations promulgated thereunder, and absent

   intervention by this Court, will do so in the future.

          31.     The TCPA provides a private right of action to bring this action on behalf of

   Plaintiff and the Plaintiff Class to redress Defendants’ violations of the Act, and provides for

   statutory damages. 47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is

   appropriate. Id.

          32.     The TCPA is a strict liability statute, so Defendants are liable to Plaintiff and the

   other class members even if its actions were only negligent.

          33.     Defendants knew or should have known that (a) Plaintiff and the other class

   members had not given prior express invitation or permission for Defendants or anybody else to

   send faxes advertising the commercial availability or quality of Defendants’ laboratory services;

   (b) Plaintiff and the other class members did not have an established business relationship;

   (c) Defendants transmitted advertisements; (d) the Fax did not contain the required Opt-Out

   Notice; and (e) Defendants’ transmission of advertisements that did not contain the required opt-

   out notice or were sent without prior express invitation or permission was unlawful.

                                                     12
Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 13 of 14



          34.     Defendants’ actions caused damages to Plaintiff and the other class members.

   Receiving Defendants’ junk faxes caused Plaintiff and the other recipients to lose paper and

   toner consumed in the printing of Defendants’ faxes. Moreover, Defendants’ faxes used

   Plaintiff's and the other class members’ telephone lines and fax machine. Defendants’ faxes cost

   Plaintiff and the other class members time, as Plaintiff and the other class members and their

   employees wasted their time receiving, reviewing and routing Defendants’ unauthorized faxes.

   That time otherwise would have been spent on Plaintiff's and the other class members’ business

   or personal activities. Defendants’ faxes intruded into Plaintiff’s and other class members’

   seclusion and violated their right to privacy, including their interests in being left alone. Finally,

   the injury and property damage sustained by Plaintiff and the other class members from the

   sending of Defendants’ advertisements occurred outside of Defendants’ premises.

          WHEREFORE, Plaintiff, KAWA ORTHODONTICS LLP, individually and on behalf of

   all others similarly situated, demands judgment in its favor and against Defendants,

   LABORATORY CORPORATION OF AMERICA HOLDINGS and LABORATORY

   CORPORATION OF AMERICA, jointly and severally, as follows:

          A.      That the Court adjudge and decree that the present case may be properly

   maintained as a class action, appoint Plaintiff as the representative of the class, and appoint

   Plaintiff’s counsel as counsel for the class;

          B.      That the Court award actual monetary loss from such violations or the sum of five

   hundred dollars ($500.00) for each violation, whichever is greater, and that the Court award

   treble damages of $1,500.00 if the violations are deemed “willful or knowing”;

          C.      That Court enjoin Defendants from additional violations; and

          D.      That the Court award pre-judgment interest, costs, and such further relief as the

   Court may deem just and proper.

                                                    13
Case 9:19-cv-80521-DMM Document 1 Entered on FLSD Docket 04/16/2019 Page 14 of 14



                                     Respectfully submitted,

                                     KAWA ORTHODONTICS LLP, individually, and
                                     as the representative of a class of similarly-situated
                                     persons

                               By:   /s/ Ryan M. Kelly
                                      Ryan M. Kelly – FL Bar No.: 90110

                                     ANDERSON + WANCA
                                     3701 Algonquin Road, Suite 500
                                     Rolling Meadows, IL 60008
                                     Telephone: 847/368-1500
                                     Fax: 847/368-1501
                                     rkelly@andersonwanca.com




                                       14
